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 6
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,
10                                                       Case No.: 2:17-CR-00023 TLN
11                          Plaintiff,
                            v.                           CONSENT ORDER GRANTING
12                                                       SUBSTITUTION OF ATTORNEY
13   CURTIS PHILLIPS,
14                         Defendant.
15
16              Notice is hereby given that, subject to approval by the court, CURTIS PHILLIPS requests

17   the court to substitute DAVID FISCHER, State Bar No. 224900, as appointed counsel in place of

18   OLAF HEDBERG.

19              OLAF HEDBERG was appointed to represent Mr. PHILLIPS. Mr. HEDBERG believes

20   it is necessary to have another attorney appointed to represent Mr. PHILLIPS. CJA Panel

21   Administrator KURT HEISER has assigned the case to Attorney DAVID FISCHER to request

22   that he be allowed to substitute in as appointed counsel of record for Mr. PHILIPPS.

23
     I concur in the substitution.
24
     Date: April 9, 2019                            /s/ Olaf Hedberg
25
                                                    OLAF HEDBERG, Attorney at Law
26
     I concur in the substitution.
27
28   Date: April 9, 2019                            /s/ Curtis Phillips
                                                    CURTIS PHILLIPS, Defendant



     Substitution of Attorney                     -1-
                  Case 2:17-cr-00023-DAD Document 118 Filed 04/10/19 Page 2 of 2


 1   I accept the appointment.
 2   Dated: April 9, 2019                     /s/ David D. Fischer_________________________
 3                                            DAVID D. FISCHER, Attorney at Law

 4
 5
 6                                          ORDER

 7              IT IS SO ORDERED.
 8
 9   Dated: April 10, 2019

10                                                    Troy L. Nunley
                                                      United States District Judge
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     Substitution of Attorney               -2-
